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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
HO WAN KWOK et al.,                                   :   Case No. 22-50073 (JAM)
                                                      :
                            1
                  Debtors.                            :   Jointly Administered
                                                      :
------------------------------------------------------x

                NOTICE OF FILING OF REVISED PROPOSED
          ORDER APPROVING SECOND INTERIM FEE APPLICATION
      OF EPIQ CORPORATE RESTRUCTURING, LLC FOR ALLOWANCE OF
    COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR PERIOD FROM
                 MARCH 1, 2023 THROUGH AUGUST 31, 2023

        PLEASE TAKE NOTICE that, on October 16, 2023, Epiq Corporate Restructuring (the

“Applicant”) filed the Second Interim Fee Application of Epiq Corporate Restructuring, LLC as

Claims and Noticing Agent for Allowance of Compensation for Services Rendered and for

Reimbursement of All Actual and Necessary Expenses Incurred for the Period from March 1,

2023 through August 31, 2023 [Docket No. 2258] (the “Second Interim Fee Application”).2

        PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit 1 is a revised

proposed order granting the Second Interim Fee Application. The proposed order has been

revised to reflect the fee reduction as agreed with the United States Trustee. See Docket No.

2330.


1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
    Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
    mailing address for the Trustee, Genever Holdings LLC, and Genever Holdings Corporation is Paul Hastings
    LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok
    (solely for purposes of notices and communications).
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Second
    Interim Fee Application.
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         PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit 2 is a redline

version of the revised proposed order marked to show the changes that have been made to the

version attached to the Second Interim Fee Application.


Dated:      November 28, 2023
            New York, New York
                                                By: /s/ G. Alexander Bongartz
                                                Avram E. Luft (admitted pro hac vice)
                                                G. Alexander Bongartz (admitted pro hac vice)
                                                PAUL HASTINGS LLP
                                                200 Park Avenue
                                                New York, New York 10166
                                                (212) 318-6079
                                                aviluft@paulhastings.com
                                                alexbongartz@paulhastings.com

                                                   and

                                                Nicholas A. Bassett (admitted pro hac vice)
                                                PAUL HASTINGS LLP
                                                2050 M Street NW
                                                Washington, D.C., 20036
                                                (202) 551-1902
                                                nicholasbassett@paulhastings.com

                                                   and

                                                Douglas S. Skalka (ct00616)
                                                Patrick R. Linsey (ct29437)
                                                NEUBERT, PEPE & MONTEITH, P.C.
                                                195 Church Street, 13th Floor
                                                New Haven, Connecticut 06510
                                                (203) 781-2847
                                                dskalka@npmlaw.com
                                                plinsey@npmlaw.com

                                                Counsel for the Chapter 11 Trustee, Genever
                                                Holdings LLC, and Genever Holdings
                                                Corporation




                                               2
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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :   Case No. 22-50073 (JAM)
                                                      :
                  Debtors.                            :   (Jointly Administered)
                                                      :
------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on November 28, 2023, the foregoing Notice was

electronically filed. Notice of this filing was sent by e-mail to all parties to the above-captioned

chapter 11 case by operation of the Court’s electronic filing (“CM/ECF”) system or by mail to

anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF system.

Dated:       November 28, 2023
             New York, New York
                                                          By: /s/ G. Alexander Bongartz
                                                          G. Alexander Bongartz (admitted pro hac vice)
                                                          PAUL HASTINGS LLP
                                                          200 Park Avenue
                                                          New York, New York 10166
                                                          (212) 318-6079
                                                          alexbongartz@paulhastings.com

                                                          Counsel for the Chapter 11 Trustee, Genever
                                                          Holdings LLC, and Genever Holdings
                                                          Corporation


1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
    Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
    mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
    Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
    Wan Kwok (solely for purposes of notices and communications).
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                                     Exhibit 1

                           Revised Proposed Order (clean)
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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    HO WAN KWOK, et al.,                                            )    Case No. 22-50073 (JAM)
                                                                    )
                                                                    )    (Jointly Administered)
                            1
                  Debtors.                                          )
                                                                    )

       ORDER APPROVING SECOND INTERIM FEE APPLICATION OF
   EPIQ CORPORATE RESTRUCTURING, LLC AS CLAIMS AND NOTICING
  AGENT FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
  AND FOR REIMBURSEMENT OF ALL ACTUAL AND NECESSARY EXPENSES
INCURRED FOR THE PERIOD FROM MARCH 1, 2023 THROUGH AUGUST 31, 2023

         This matter coming before this Court on the Second Interim Fee Application of Epiq

Corporate Restructuring, LLC as Claims and Noticing Agent for Allowance of Compensation for

Services Rendered and for Reimbursement of all Actual and Necessary Expenses Incurred for the
                                                                                             2
Period from March 1, 2023 through August 31, 2023 (the “Application,”) of Epiq Corporate

Restructuring, LLC (“Epiq”) pursuant to sections 330(a) and 331 of the Bankruptcy Code and

Bankruptcy Rule 2016, for an order (this ”Order”): (i) approving and allowing, on an interim

basis, the aggregate sum of $106,598.34, including (a) compensation in the amount of $99,036.00

and (b) reimbursement of actual and necessary expenses in the sum of $7,562.34, incurred by Epiq

from March 1, 2023, through August 31, 2023 (the “Compensation Period”); (ii) directing payment

of the difference between (a) $106,598.34 and (b) any interim payments made to Epiq with respect


1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
     LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
     for the Trustee, Genever Holdings LLC, and Genever Holdings Corporation is Paul Hastings LLP, 200 Park
     Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for
     purposes of notices and communications).
2
     Capitalized terms used but not defined in this Order shall have the meanings ascribed to them in the Application.
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to the Compensation Period; and (iii) granting related relief, all as further described in the

Application; and upon consideration of the Application, and the Court having jurisdiction over this

matter pursuant 28 U.S.C. §§ 157 and 1334, and notice of the Application was adequate under the

circumstances and no further or other notice of the Application is required; and after due

deliberation and sufficient cause appearing therefore,

       IT IS HEREBY ORDERED THAT:

       1.      The Application is GRANTED, as set forth in this Order.

       2.      Epiq is allowed, on an interim basis, compensation for services rendered during the

Compensation Period in the aggregate sum of $102,598.34, including (a) compensation in the

amount of $95,036.00 and (b) reimbursement of actual and necessary expenses in the sum of

$7,562.34.

       3.      The Debtors are hereby authorized and directed to pay Epiq the difference between

(a) $102,598.34 and (b) any interim payments made to Epiq pursuant to the Interim Compensation

Order with respect to the Compensation Period.

       4.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation or enforcement of this Order.
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                                      Exhibit 2

                           Revised Proposed Order (redline)
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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    HO WAN KWOK, et al.,                                            )    Case No. 22-50073 (JAM)
                                                                    )
                                                                    )    (Jointly Administered)
                            1
                   Debtors.                                         )
                                                                    )

       ORDER APPROVING SECOND INTERIM FEE APPLICATION OF
   EPIQ CORPORATE RESTRUCTURING, LLC AS CLAIMS AND NOTICING
  AGENT FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
  AND FOR REIMBURSEMENT OF ALL ACTUAL AND NECESSARY EXPENSES
INCURRED FOR THE PERIOD FROM MARCH 1, 2023 THROUGH AUGUST 31, 2023

             This matter coming before this Court on the Second Interim Fee Application of Epiq

Corporate Restructuring, LLC as Claims and Noticing Agent for Allowance of Compensation for

Services Rendered and for Reimbursement of all Actual and Necessary Expenses Incurred for
                                                                                             2
the Period from March 1, 2023 through August 31, 2023 (the “Application,”) of Epiq Corporate

Restructuring, LLC (“Epiq”) pursuant to sections 330(a) and 331 of the Bankruptcy Code and

Bankruptcy Rule 2016, for an order (this ”Order”): (i) approving and allowing, on an interim

basis, the aggregate sum of $106,598.34, including (a) compensation in the amount of

$99,036.00 and (b) reimbursement of actual and necessary expenses in the sum of $7,562.34,

incurred by Epiq from March 1, 2023, through August 31, 2023 (the “Compensation Period”);




1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and Genever Holdings Corporation is Paul Hastings
     LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok
     (solely for purposes of notices and communications).
2
     Capitalized terms used but not defined in this Order shall have the meanings ascribed to them in the Application.
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(ii) directing payment of the difference between (a) $106,598.34 and (b) any interim payments

made to Epiq with respect to the Compensation Period; and (iii) granting related relief, all as

further described in the Application; and upon consideration of the Application, and the Court

having jurisdiction over this matter pursuant 28 U.S.C. §§ 157 and 1334, and notice of the

Application was adequate under the circumstances and no further or other notice of the

Application is required; and after due deliberation and sufficient cause appearing therefore,

       IT IS HEREBY ORDERED THAT:

       1.      The Application is GRANTED, as set forth in this Order.

       2.      Epiq is allowed, on an interim basis, compensation for services rendered during

the Compensation Period in the aggregate sum of $106,598.34102,598.34, including (a)

compensation in the amount of $99,036.0095,036.00 and (b) reimbursement of actual and

necessary expenses in the sum of $7,562.34.

       3.      The Debtors are hereby authorized and directed to pay Epiq the difference

between (a) $106,598.34102,598.34 and (b) any interim payments made to Epiq pursuant to the

Interim Compensation Order with respect to the Compensation Period.

       4.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation or enforcement of this Order.
